       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                               FOURTH DISTRICT

                  JERRELL DEMETRIUS ROBERTS,
                           Appellant,

                                     v.

                         STATE OF FLORIDA,
                              Appellee.

                           No. 4D2023-2652

                           [August 22, 2024]

   Appeal of order denying rule 3.850 motion from the Circuit Court for
the Fifteenth Judicial Circuit, Palm Beach County; Howard K. Coates, Jr.,
Judge; L.T. Case No. 502016CF007377BXXXMB.

   Jerrell Demetrius Roberts, Arcadia, pro se.

  Ashley Moody, Attorney General, Tallahassee, and Anesha Worthy,
Senior Assistant Attorney General, West Palm Beach, for appellee.

PER CURIAM.

   Affirmed.

GERBER, FORST and KUNTZ, JJ., concur.

                           *          *          *

   Not final until disposition of timely filed motion for rehearing.
